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                                                                                             13                         UNITED STATES DISTRICT COURT
                                                                                             14                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                             15
                                                                                             16   SUGARFINA, INC., a Delaware              Case No. 2:17-cv-4456 RSWL (JEMx)
                                                                                                  corporation,
                                                                                             17                                            Hon. Ronald S.W. Lew
                                                                                                                  Plaintiff,
                                                                                             18                                            STIPULATED JUDGMENT AND
                                                                                                  v.                                       INJUNCTION
                                                                                             19
                                                                                                  SWEET PETE’S, LLC, a Florida
                                                                                             20   limited liability company; et al.,
                                                                                             21                   Defendants.
                                                                                             22   AND RELATED COUNTERCLAIM.
                                                                                             23
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                                                                                              1              This matter comes before the Court on the parties’ Proposed Order Entering
                                                                                              2   Judgment and Injunction (“Proposed Order”) disposing of this action. It appearing
                                                                                              3   that the parties have reached a settlement of all matters in dispute in this action
                                                                                              4   without trial, and that, as part of such settlement, the parties, through their counsel
                                                                                              5   of record, consent and agree to the entry of this Proposed Order, which shall
                                                                                              6   constitute a final judgment in this action.
                                                                                              7              THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND
                                                                                              8   DECREED as follows:
                                                                                              9                                           FINDINGS
                                                                                             10              1.    The Court has jurisdiction over the subject matter of the case and
                                                                                             11   defendant Sweet Pete’s LLC pursuant to 15 U.S.C. § 1121, 28 U.S.C. § 1331, 28
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                                                                                             12   U.S.C. §1338(a), 28 U.S.C. 1338(b), 28 U.S.C. § 1367, 35 U.S.C. § 271, 15 U.S.C.
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                                                                                             13   §§ 114 and 1125, 17 U.S.C. § 101, and its inherent equitable authority.
                                                                                             14              2.    Venue as to this action and the Defendant in the Central District of
                                                                                             15   California (Western Division – Los Angeles) is proper under 28 U.S.C. § 1391(b)
                                                                                             16   and 28 U.S.C. § 1367(a).
                                                                                             17              3.    On June 15, 2017, plaintiff Sugarfina, Inc. (“Sugarfina”) filed its
                                                                                             18   Complaint (Doc. No. 1) in this action alleging claims for federal trade dress
                                                                                             19   infringement under 15 U.S.C. §1125(a), federal trademark infringement and federal
                                                                                             20   unfair competition and false designation of origin (15 U.S.C. §§ 1115, 1125(a)),
                                                                                             21   state unfair business practices (Cal. Bus. & Prof. Code § 17200, et seq.), federal
                                                                                             22   copyright infringement (17 U.S.C. § 101, et seq.), design patent infringement (35
                                                                                             23   U.S.C. § 271(a)), trade liable, and civil conspiracy.
                                                                                             24              4.    Defendant was served with the Summons and Complaint on June 22
                                                                                             25   and 23, 2017 (Doc. Nos. 8, 9, 11, 12), and on July 28, 2017, appeared through its
                                                                                             26   counsel of record and filed a motion to dismiss the case. (Doc. No. 18).
                                                                                             27              5.    On September 25, 2017, the Court entered an order (Doc. No. 25)
                                                                                             28   granting in part and denying in part Defendant’s motion to dismiss (Doc. No. 18).
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                                                                                              1              6.    On October 16, 2017, Sugarfina filed its First Amended Complaint
                                                                                              2   (Doc. No. 26), as corrected (Doc. No. 38), which Defendant answered together with
                                                                                              3   its defenses and declaratory judgment on October 30, 2017 (Doc. Nos. 37, 40).
                                                                                              4              7.    The First Amended Complaint sets forth causes of action against
                                                                                              5   Defendant for federal trade dress infringement under 15 U.S.C. §1125(a), federal
                                                                                              6   trademark infringement and federal unfair competition and false designation of origin
                                                                                              7   (15 U.S.C. §§ 1115, 1125(a)), state unfair business practices (Cal. Bus. & Prof. Code
                                                                                              8   § 17200, et seq.), federal copyright infringement (17 U.S.C. § 101, et seq.), design
                                                                                              9   patent infringement (35 U.S.C. § 271(a)), trade liable, and civil conspiracy.
                                                                                             10              8.    Pursuant to a stipulation of the parties (Doc. No. 60), Sugarfina
                                                                                             11   withdrew its claim of patent infringement of U.S. Design Patent No. D755,641
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                                                                                             12   (Fifth Count of the First Amended Complaint) and that count was dismissed with
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                                                                                             13   prejudice. (Doc. No. 64). All other claims contained in Sugarfina’s First Amended
                                                                                             14   Complaint remain. Id.
                                                                                             15              9.    On September 7, 2018, Sugarfina filed a motion for leave to file a
                                                                                             16   Second Amended Complaint. (Doc. No. 80). The motion is fully-briefed (Doc. Nos.
                                                                                             17   80, 81, 82, and 83) and a ruling on that motion has been held in abeyance, initially
                                                                                             18   pursuant to a stipulation of the parties (Doc. No. 86) and subsequently by further
                                                                                             19   order of the Court. (Doc. No. 95)
                                                                                             20              10.   Among the intellectual property that Sugarfina asserts in this action are
                                                                                             21   the following trademarks used in connection with the sale and marketing of
                                                                                             22   Sugarfina’s products: SUGARFINA® (U.S. Reg. No. 4,677,276), CUBA LIBRE®
                                                                                             23   (U.S. Reg. No. 4,943,322), PEACH BELLINI® (U.S. Reg. No. 4,981,752),
                                                                                             24   FRUTTINITM, CANDY BENTO BOX® (U.S. Reg. 4,838,646), CANDY CUBETM,
                                                                                             25   and CANDY CONCIERGETM.
                                                                                             26              11.   Sugarfina also asserts trade dress rights with respect to the total image
                                                                                             27   and overall appearance of its product packaging, including the size, shape, color,
                                                                                             28   and color combinations, texture, graphics, and sales techniques, that include
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                                                                                              1   individually and jointly the following elements:
                                                                                              2                     (a)   The combination of an individual clear cube with a label with a
                                                                                              3              patterned band and shapes (namely, circles, diamonds, or hearts), and a
                                                                                              4              tapered end-tab containing candy product as exemplified by the photos
                                                                                              5              below; or
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                                                                                             20                     (b)   Product assortment packaging consisting of the following as
                                                                                             21              exemplified by the photos below:
                                                                                             22                           (i)     a rectangular product package with minimal lettering;
                                                                                             23                           (ii)    the inside bottom surface of the product package
                                                                                             24              dominated by a series of cube wells or trays; and
                                                                                             25                           (iii)   a series of clear cubes; or
                                                                                             26
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                                                                                                                    (c)   In-store arrangement of individual clear cubes on a “candy
                                                                                             15
                                                                                                             wall” comprised of multiple shelves bearing individual cubes arranged in
                                                                                             16
                                                                                                             repetitive and/or stacked patterns as exemplified by the picture below.
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                                                                                              1              12.   Sugarfina also owns all rights, title, and interest to copyrights
                                                                                              2   registered with the United States Copyright Office, Reg. Nos. VA0001963482 and
                                                                                              3   VA0001963483.
                                                                                              4              13.   Sugarfina’s asserted trademarks, trade dress, and copyrights as
                                                                                              5   described in paragraphs 10-12 above are collectively referred to in this Stipulation
                                                                                              6   of Judgment as the “SUGARFINA INTELLECTUAL PROPERTY.”
                                                                                              7              14.   Defendant acknowledges liability for infringement of the SUGARFINA
                                                                                              8   INTELLECTUAL PROPERTY and admits the Court’s jurisdiction, and the validity
                                                                                              9   and Sugarfina’s ownership of the SUGARFINA INTELLECTUAL PROPERTY, as
                                                                                             10   set forth above.
                                                                                             11              15.   The settlement of this dispute is fair, reasonable, and just.
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                                                                                             12              16.   The parties understand and agree that any violation of any term of this
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                                                                                             13   Order shall give rise to the available contempt remedies and penalties.
                                                                                             14                                              ORDER
                                                                                             15                                      I. PARTIES BOUND
                                                                                             16              IT IS HEREBY ORDERED that this Order shall apply to and be binding
                                                                                             17   upon Sugarfina and Defendant and their successors. Unless by operation of law, no
                                                                                             18   change or changes in the ownership or corporate status or other legal status of
                                                                                             19   Defendant, including, but not limited to, any transfer of assets or of real or personal
                                                                                             20   property, shall in any way alter Defendant’s responsibilities under this Order,
                                                                                             21   Pursuant to Federal Rule of Civil Procedure 65(d), the provisions of this Order are
                                                                                             22   binding upon Defendant, and its officers, agents, servants, representatives,
                                                                                             23   employees, attorneys, and all other persons or entities in active concert or
                                                                                             24   participation with it, who receive actual notice of this Order by personal service or
                                                                                             25   otherwise.
                                                                                             26                                 II. MONETARY JUDGMENT
                                                                                             27              IT IS FURTHER ORDERED that, by consent of the parties, Sugarfina is
                                                                                             28   awarded judgment against Defendant Sweet Pete’s LLC in the principal amount of
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                                                                                              1   United States Two Million Dollars (USD 2,000,000.00), plus interest at the legal
                                                                                              2   rate imposed on judgments after entry, the Court finding such sum to be reasonable
                                                                                              3   based on the facts presented in this action.
                                                                                              4                        III. PROHIBITED BUSINESS ACTIVITIES
                                                                                              5              IT IS FURTHER ORDERED that Defendant Sweet Pete’s LLC and its
                                                                                              6   officers, agents, servants, employees, and attorneys; and other persons who are in
                                                                                              7   active concert or participation with anyone described in Federal Rule of Civil
                                                                                              8   Procedure 65 (d)(2)(A) or (B), whether acting directly or through any person or
                                                                                              9   entity, are hereby ordered not to infringe the SUGARFINA INTELLECTUAL
                                                                                             10   PROPERTY and is permanently enjoined and restrained from, or assisting others
                                                                                             11   from infringing the following:
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                                                                                             12              (1)   Sugarfina’s registered trademarks shown in U.S. Trademark
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                                                                                             13   Registrations Nos. 4,677,276 (SUGARFINA®), 4,943,322 (CUBA LIBRE®),
                                                                                             14   4,981,752 (PEACH BELLINI®), 4,838,646 (CANDY BENTO BOX®) in violation
                                                                                             15   of 15 U.S.C. § 1114 by developing, manufacturing, importing and/or exporting,
                                                                                             16   advertising, marketing, promoting, offering for sale, selling, or distributing products
                                                                                             17   or services or product packaging that bear marks that are the same as or confusingly
                                                                                             18   similar to Sugarfina’s registered trademarks, and any product that is merely a
                                                                                             19   colorable imitation thereof, including, but not limited to, “Candy Gift Box 8,”
                                                                                             20   “Candy Gift Box 4” (also referred to as Bento Box 4”), “Candy Gift Box 3,” and
                                                                                             21   “Candy Cube”;
                                                                                             22              (2)   Sugarfina’s common law trademarks FRUTTINITM, CANDY CUBETM,
                                                                                             23   and CANDY CONCIERGETM, in violation of 15 U.S.C. § 1125(a) by developing,
                                                                                             24   manufacturing, importing and/or exporting, advertising, marketing, promoting, offer
                                                                                             25   for sale, selling, or distributing products or services or product packaging that bear
                                                                                             26   marks that are the same as or confusingly similar to Sugarfina’s common law
                                                                                             27   trademarks, and any product that is merely a colorable imitation thereof, including,
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                                                                                              1   but not limited to “Candy Gift Box 8,” “Candy Gift Box 4” (also referred to as
                                                                                              2   Bento Box 4”), “Candy Gift Box 3,” and “Candy Cube”;
                                                                                              3              (3)   Sugarfina’s trade dress in violation of 15 U.S.C. § 1125(a) by
                                                                                              4   developing, manufacturing, importing and/or exporting, advertising, marketing,
                                                                                              5   promoting, offer for sale, selling, or distributing products or services that use trade
                                                                                              6   dress that is confusingly similar to Sugarfina’s trade dress as set forth in Paragraph
                                                                                              7   11 above, and any product that is the same as , or merely a colorable imitation
                                                                                              8   thereof, including, but not limited to “Candy Gift Box 8,” “Candy Gift Box 4” (also
                                                                                              9   referred to as Bento Box 4”), “Candy Gift Box 3,” and “Candy Cube”; and
                                                                                             10              (4)   Sugarfina’s copyrights shown in U.S. Copyright Registration Nos.
                                                                                             11   VA001963483 and VA0001963482 in violation of 17 U.S.C. § 101, et seq., by
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                                                                                             12   developing, manufacturing, importing and/or exporting, advertising, marketing,
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                                                                                             13   promoting, creating, reproducing, offering for sale, selling, or distributing products
                                                                                             14   or services and product packaging consisting of or containing the same or strikingly
                                                                                             15   similar reproductions of the registered works, and any product that is merely a
                                                                                             16   colorable imitation thereof, including, but not limited to, “Candy Gift Box 8,”
                                                                                             17   “Candy Gift Box 4” (also referred to as Bento Box 4”), “Candy Gift Box 3,” and
                                                                                             18   “Candy Cube”.
                                                                                             19                            IV. OTHER CONDUCT ORDERED
                                                                                             20              IT IS FURTHER ORDERED that Defendant shall:
                                                                                             21              (1)   Within fourteen (14) days of entry of this Order on the Court’s docket,
                                                                                             22   deliver copies of this Order to all of its officers and directors, and to all agents,
                                                                                             23   managers and employees who have responsibility directly or indirectly for any
                                                                                             24   matters covered by this Order, and maintain a record of recipients to whom the
                                                                                             25   Order has been distributed; and
                                                                                             26              (2)   if, at any time, Defendant learns of any past or future violations of this
                                                                                             27   Order, Defendant shall, within seven (7) days after such knowledge is obtained or
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                                                                                              1   sooner if feasible, take appropriate action to terminate or modify the activity so as
                                                                                              2   to comply with this Order.
                                                                                              3                               V. WAIVERS AND RELEASES
                                                                                              4              IT IS FURTHER ORDERED that:
                                                                                              5              (1)   Fed. R. Civ. P. 62 is and shall be waived and inapplicable to this
                                                                                              6   Order, such that Sugarfina shall be entitled to immediately, among other things,
                                                                                              7   record and enforce the terms hereof, subject to the terms of the separate Settlement
                                                                                              8   Agreement.
                                                                                              9              (2)   The parties waive and release: (a) all rights to seek appellate review or
                                                                                             10   otherwise challenge or contest the validity of this Order; and (b) any claim that a
                                                                                             11   party may have against the other party, its employees, representatives, agents, or
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                                                                                             12   attorneys, or that relate to the matters alleged in the First Amended Complaint or
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                                                                                             13   stated herein, subject to the terms of the separate Settlement Agreement.
                                                                                             14              (3)   This Order and the separate Settlement Agreement constitute a
                                                                                             15   complete settlement and release by Sugarfina of all claims asserted, or that could
                                                                                             16   have been asserted, in its First Amended Complaint and heretofore pending
                                                                                             17   proposed Second Amended Complaint against Defendant, its employees,
                                                                                             18   representatives, or agents, which are dismissed with prejudice, subject to any claim
                                                                                             19   against Defendant arising out of any violation of this Order or the Settlement
                                                                                             20   Agreement.
                                                                                             21                           VI. RETENTION OF JURISDICTION
                                                                                             22              IT IS FURTHER ORDERED that:
                                                                                             23              (1)   this Court shall retain jurisdiction of this matter for purpose of
                                                                                             24   construction, modification, and enforcement of this Order and the separate
                                                                                             25   Settlement Agreement reached by the parties, and making any further orders
                                                                                             26   necessary or proper for the construction of this Order, the enforcement thereof, and
                                                                                             27   the punishment of any violations thereof; and
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                                                                                              1              (2)   if at any future time Defendant is found to have violated this Order,
                                                                                              2   Defendant shall be liable for all attorney’s fees and costs reasonably incurred to
                                                                                              3   enforce this Order or otherwise remedy such violation.
                                                                                              4                                    VII. PUBLIC RECORD
                                                                                              5              IT IS FURTHER ORDERED that this Order shall be a matter of public
                                                                                              6   record.
                                                                                              7                           VIII. COSTS AND ATTORNEY’S FEES
                                                                                              8              IT IS FURTHER ORDERED that each party shall bear its own costs and
                                                                                              9   attorney’s fees incurred in connection with this action, except as provided herein
                                                                                             10   with respect to any future violations by Defendant of this Order.
                                                                                             11                            IX. NOTICE OF ENTRY OF ORDER
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                                                                                             12              IT IS FURTHER ORDERED that entry in the docket of this Order by the
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                                                                                             13   Clerk of Court shall constitute notice to Defendant of the terms and conditions of
                                                                                             14   this Order, and that Defendant waives all rights to contest in any future proceeding
                                                                                             15   whether Defendant was properly served with the Order.
                                                                                             16                                    X. GOVERNING LAW
                                                                                             17              This Order shall be governed by the law of the State of California.
                                                                                             18               XI. DEFENDANTS’ REVIEW AND APPROVAL OF ORDER
                                                                                             19              Defendant acknowledges that they have thoroughly reviewed this Order with
                                                                                             20   its attorneys, that it understands and agree to its terms, and that it agrees that the
                                                                                             21   terms of this Order shall be entered as the Order of this Court.
                                                                                             22              IT IS SO ORDERED.
                                                                                             23
                                                                                             24   Dated: 3/8/2019               s/ RONALD S.W. LEW
                                                                                                                                Honorable Ronald S.W. Lew
                                                                                             25                                 United States District Judge
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